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AO 91 (Rev. 01/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
District of New Mexico

 

United States of America )
Vv. )
) Case No: q M 22D
Mario RUIZ-Lopez
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief. On or about
the date of July 14, 2019 in the county of Dona Anainthe State and District of New Mexico, the defendant violated 8
U.S.C. §1326(a)(1),.(2)(Re-Entry After Deport), an offense described as follows:

an alien, who had been previously arrested and deported from the United States and who had not received the consent of
the appropriate authority of the United States to reapply for admission into the United States, was found in the United
States, being willfully in the United States unlawfully

This criminal complaint is based on these facts:
On July 14, 2019, a United States Border Patrol Agent encountered the Defendant in Dona Ana County, New Mexico.
When questioned as to his citizenship the Defendant admitted to being a citizen of Mexico without authorization to enter
or remain in the United States. Record checks revealed that the Defendant had been previously deported to Mexico via E]
Paso, TX on or about June 20, 2019. There is no evidence that the Defendant received permission from the appropriate
Authority to reapply for admission into the United States.

() Continued on the attached sheet.

 

ag
Complainant's signature

Isaac Aragon Agent
Printed name and title

 

Sworn to before me and signed in my presence.

Date: July 17, 2019

 

 

GREGORY i: FOURATT
City and state: Las Cruces, N.M. US. MAGISTRATE JUDGE

Printed name and title

 

 
